Case 18-68220-pmb       Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28           Desc Main
                                 Document      Page 1 of 16



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                              :              CHAPTER 7
                                                    :
DUWAN PITTMAN,                                      :              CASE NO. 18-68220-PMB
                                                    :
         Debtor.                                    :
                                                    :


    MOTION FOR ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE,
    METRO CITY BANK, AND CHICAGO TITLE INSURANCE COMPANY UNDER
      RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Duwan Pittman (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Settlement between Trustee, Metro City

Bank, and Chicago Title Insurance Company under Rule 9019 of the Federal Rules of

Bankruptcy Procedure (the “Settlement Motion”). In support of the Settlement Motion, Trustee

respectfully shows the Bankruptcy Court as follows:

                                    Jurisdiction and Venue

         1.    This Bankruptcy Court has jurisdiction over this Settlement Motion under 28

U.S.C. §§ 157 and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408

and 1409. The statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion

is a core proceeding under 28 U.S.C. § 157(b)(2).

                                         Background

         2.    On October 31, 2018 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as




15138610v1
Case 18-68220-pmb           Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28          Desc Main
                                     Document      Page 2 of 16



amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 18-68220-PMB (the “Bankruptcy Case”).

        3.     On the Petition Date, Debtor was the owner of record of certain real property with

a common address of 5521 Marbut Road, Lithonia, DeKalb County, Georgia 30058 (the

“Property”).

        4.     Shortly after the Petition Date, Trustee was appointed the Chapter 7 trustee and

remains in that capacity.

        5.     On or about January 15, 2016, Debtor executed a security deed (the “Security

Deed”), through which Debtor granted a first position security interest in the Property to Metro

City Bank (“Metro City”).

        6.     On January 28, 2016, Metro City caused the Security Deed to be recorded in the

real property records of the Superior Court of DeKalb County, Georgia (the “Real Estate

Records”) beginning at Page 311 of Deed Book 25375.

        7.     In connection with the loan transaction related to the Security Deed, Chicago Title

Insurance Company (“CTIC”) issued a title insurance policy under which Metro City is the

insured (the “Policy”).

        8.     Trustee asserts that the Security Deed was not properly attested, and thus, any

transfer arising out of its execution or recordation is avoidable and recoverable by Trustee for the

benefit of the Bankruptcy Estate, under 11 U.S.C. §§ 544, 550, and 551 (the “Attestation

Issues”).

        9.     Metro City contests Trustee’s claims related to the avoidability and recoverability

of any transfer arising out of the execution or recordation of the Security Deed.



                                                 2
15138610v1
Case 18-68220-pmb       Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28             Desc Main
                                 Document      Page 3 of 16



                                   The Proposed Settlement

        10.   Following negotiations, Trustee, Metro City, and CTIC (collectively, the

“Parties”) have reached an agreement to resolve the Attestation Issues raised by Trustee and

have entered a Settlement Agreement (the “Settlement Agreement”) in this regard, subject to

Court approval.   A copy of the Settlement Agreement is attached as Exhibit “A” to this

Settlement Motion and is incorporated herein by reference. Significant terms of the Settlement

Agreement follow:1

                  a. Within ten (10) business days of the Settlement Approval Order becoming
                     final and the provision of a proper W-9 by Trustee to Metro City, Metro
                     City's title insurer shall pay to Trustee $42,500.00 (the “Settlement
                     Funds”) in one lump sum payment by delivering an official check to
                     Trustee in the amount of $42,500.00 made payable as follows: “S.
                     Gregory Hays, Trustee (Pittman).”

                  b. Effective upon the Settlement Approval Order becoming a final order, the
                     Security Deed shall be deemed properly perfected as of its recording on
                     January 28, 2016, and Metro City, or its authorized representative, shall be
                     entitled to re-record in the Real Estate Records a copy of the Security
                     Deed, a copy of the Settlement Approval Order, or any other document
                     that it deems reasonably necessary to properly perfect its first priority
                     security interest in the Property.

                  c. Within ten (10) business days of the later of: (a) Trustee’s closing a sale of
                     the Property, or (b) the Settlement Approval Order becoming final,
                     Trustee shall pay to Metro City $59,039.23 from the proceeds of the sale
                     of the Property as full and final payment of its first position security
                     interest in the Property (the “$59,039.23 Payment”). For the avoidance of
                     doubt, Trustee’s obligation to make the $59,039.23 Payment to Metro City
                     shall arise if and only if Trustee closes a sale of the Property, following
                     appropriate authority from the Bankruptcy Court.

                  d. Effective upon Trustee’s receiving the $42,500.00 Settlement Funds in
                     good funds and the Settlement Approval Order becoming a final order,
                     and except for the rights, duties, and obligations created or preserved


1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.


                                                3
15138610v1
Case 18-68220-pmb       Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28            Desc Main
                                 Document      Page 4 of 16



                     under the Settlement Agreement, Trustee releases, acquits, and forever
                     discharges Metro City from any and all Claims (as defined in Section 9 of
                     the Settlement Agreement) of any kind, character, or nature whatsoever,
                     known or unknown, fixed or contingent, that Trustee may have or claim to
                     have against Metro City prior to the Effective Date.

                  e. Effective upon the Settlement Approval Order becoming a final order, and
                     except for the rights, duties, and obligations created or preserved under the
                     Settlement Agreement, Metro City releases, acquits, and forever
                     discharges Trustee and the Bankruptcy Estate and each and every past and
                     present agent, servant, employee, representative and attorney of Trustee or
                     the Bankruptcy Estate from any and all Claims (as defined in Section 9 of
                     the Agreement) of any kind, character or nature whatsoever, known or
                     unknown, fixed or contingent, that Metro City or CTIC may have or claim
                     to have against Trustee or the Bankruptcy Estate prior to the Effective
                     Date.

                  f. Effective upon the Settlement Approval Order’s becoming a final order,
                     the parties stipulate and agree that, by virtue of the payment of the
                     Settlement Funds, CTIC shall have a non-priority, unsecured claim against
                     the Bankruptcy Estate, which claim shall be in the amount of $42,500.
                     CTIC’s claim shall be subordinate to, and receive payment after, any and
                     all allowed and timely filed claims.

                  g. Except for the $59,039.23 Payment set forth in Section 2.4 of the
                     Settlement Agreement, Trustee and Metro City stipulate and agree that
                     Metro City shall not have a claim under Section 502(h) of the Bankruptcy
                     Code, or any other applicable provision, in the Bankruptcy Case for or on
                     account of payment of the Settlement Funds, or for any reason, and that
                     neither Metro City nor any of its affiliates, agents, principals, or
                     subsidiaries shall receive a distribution from the Bankruptcy Estate as a
                     result of payment of the Settlement Funds.

                  h. If Trustee closes a sale of the Property, then to the extent that the
                     Settlement Payment increases the moneys disbursed by Trustee in the
                     Bankruptcy Case, the amount of that increase shall be disregarded for
                     purposes of calculating the limit of Trustee’s compensation under 11
                     U.S.C. § 326.

                                       Relief Requested

        11.   By this Settlement Motion, Trustee requests that the Bankruptcy Court approve

the Settlement Agreement between the Parties.




                                                4
15138610v1
Case 18-68220-pmb        Doc 60     Filed 06/24/20 Entered 06/24/20 16:55:28             Desc Main
                                   Document      Page 5 of 16



                                          Basis for Relief

        12.    Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).2

        13.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.



2
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.

                                                 5
15138610v1
Case 18-68220-pmb        Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28             Desc Main
                                  Document      Page 6 of 16



        14.    Given the potential expense of litigating the claims raised by Trustee and the

contingent nature of the same, in the event that the claims that are proposed to be settled are

instead prosecuted, the amount of time that such litigation will require, the delay before the final

outcome is known (including the time necessary for any potential appeals), and the complexity

and uncertain resolution of factual and legal disputes, settlement on the terms described in the

Settlement Agreement is a proper exercise of the Trustee’s business judgment and in the best

interests of the Bankruptcy Estate.

        15.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Bankruptcy Court approve the Settlement Agreement.

        WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Settlement Agreement; and (iii) granting to the parties such other and

further relief as the Court deems just and appropriate.

        Respectfully submitted, this 24th day of June, 2020.

                                                     ARNALL GOLDEN GREGORY LLP
                                                     Attorneys for Trustee

                                                     By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                           Michael J. Bargar
Atlanta, GA 30363                                         Georgia Bar No. 645709
(404) 873-8500                                            michael.bargar@agg.com




                                                 6
15138610v1
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document      Page 7 of 16




                             EXHIBIT “A” FOLLOWS




15138610v1
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document      Page 8 of 16
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document      Page 9 of 16
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document     Page 10 of 16
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document     Page 11 of 16
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document     Page 12 of 16
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document     Page 13 of 16
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document     Page 14 of 16
Case 18-68220-pmb   Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28   Desc Main
                             Document     Page 15 of 16
Case 18-68220-pmb        Doc 60    Filed 06/24/20 Entered 06/24/20 16:55:28            Desc Main
                                  Document     Page 16 of 16



                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement between
Trustee, Metro City Bank, and Chicago Title Insurance Company under Rule 9019 of the
Federal Rules of Bankruptcy Procedure by first class United States mail on the following
persons or entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Austin E. James
Fidelity National Law Group
4170 Ashford Dunwoody Road, Suite 460
Atlanta, GA 30319

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

        This 24th day of June, 2020.
                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709




15138610v1
